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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-00581-CNS-NRN

 Colorado Montana Wyoming
 State Area Conference of the NAACP,
 League of Women Voters of Colorado, and
 Mi Familia Vota,

         Plaintiffs,

 v.

 United States Election Integrity Plan, Shawn Smith,
 Ashley Epp, and Holly Kasun,

         Defendants.



       PLAINTIFF LEAGUE OF WOMEN VOTERS OF COLORADO’S RESPONSE
             TO DEFENDANTS’ FIRST SET OF WRITTEN DISCOVERY


 TO:     Defendants above-names, and their attorneys of record, R. Scott Reisch, Jessica L. Hays,
         THE REISCH LAW FIRM, LLC, 1490 W. 121st Avenue, #202, Denver, CO 80234.

         League of Women Voters of Colorado’s (“LWVCO”), for its Response to Defendants’

 (“Defendants”) First Set of Written Discovery, states as follows:

                                   GENERAL OBJECTIONS

         LWVCO objects generally to Defendants’ Discovery Requests on each of the following

 grounds:

         1.      LWVCO objects to Defendants’ Discovery Requests to the extent that they seek

 discovery of:

                 a.    Information or documents subject to the attorney-client privilege, or to any
                       other privilege;

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                b.     Information or documents constituting the work product of LWVCO or its
                       attorneys;

                c.     Information generated or documents prepared in anticipation of litigation or
                       for trial by or for LWVCO or its representatives.

         2.     LWVCO objects to Defendants’ Discovery Requests to the extent they seek

 discovery of any information or document which is not in the possession or control of LWVCO or

 which was not generated or obtained by LWVCO in the regular course of its business.

         3.     LWVCO objects to Defendants’ Discovery Requests insofar as they seek

 information which is not relevant or material to the issues of this lawsuit and which is not

 reasonably calculated to lead to the discovery of admissible evidence.

         4.     LWVCO objects to Defendants’ Discovery Requests insofar as they seek discovery

 of any information or document already in the possession, custody or control of the Defendants.

         5.     LWVCO objects to, and does not accept, the Defendants’ instructions. LWVCO

 will respond to Defendants’ Discovery Requests in accordance with, and as required by, the

 Federal Rules of Civil Procedure.

         6.     LWVCO objects to Defendants’ Discovery Requests to the extent they purport to

 impose obligations not imposed by the Federal Rules of Civil Procedure.

         7.     LWVCO does not and will not waive any of its general or particular objections in

 the event it may furnish materials or information coming within the scope of any such objections.

         In addition to making the foregoing general objections, all of which are preserved,

 LWVCO responds to each of Defendants’ Discovery Requests particularly as follows:




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                                      INTERROGATORIES

 INTERROGATORY NO. 1: Have You or anyone acting on your behalf interviewed any
 individual concerning the allegations of voter intimidation made in the Complaint filed in this
 case?
 If so, for each individual states:
          a) the name, address, email address, and telephone number of the individual interviewed;
          b) the date of the interview;
          c) the name, address, email address, and telephone number of the person(s) who
              conducted the interview.

         ANSWER:        LWVCO objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and work product doctrine. LWVCO will identify any

 witnesses it intends to call at trial pursuant to the Federal Rules of Civil Procedure and any

 applicable scheduling order.



 INTERROGATORY NO. 2: Did you conduct any further investigation into the allegations outside
 of the articles and websites cited in Your pleadings. Provide a detailed description of all steps
 taken to corroborate these allegations including the names and contact information for any and all
 investigators utilized in the process of corroborating these serious allegations.

         ANSWER:        LWVCO objects to this Interrogatory as overly broad and unduly

 burdensome in seeking “all” steps taken to corroborate the allegations in the Complaint. LWVCO

 further objects to this Interrogatory because the terms “investigation” and “investigator” are vague,

 ambiguous, and undefined. Finally, LWVCO objects to this Interrogatory because it seeks

 information that is subject to the attorney-client privilege and work product doctrine. Subject to

 and without waiving the foregoing objections, yes. Prior to commencing this action, Plaintiffs

 spoke with various witnesses and potential witnesses, including but not limited to members and

 supporters of their respective organizations who were concerned about Defendants’ past and

 potential future actions.   Plaintiffs also reviewed Defendants’ public statements concerning


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 USEIP’s activities, including but not limited to the County & Local Organizing Playbook and

 Defendants’ statements on social media and at other events.

 INTERROGATORY NO. 3: Identify and provide a detailed description of all reports from voters
 that interacted with USEIP members, employees, or volunteers.

         ANSWER:        LWVCO objects to this Interrogatory as overly broad and unduly

 burdensome in seeking “all” reports. LWVCO further objects to this Interrogatory because the

 term “reports” is vague, ambiguous, and undefined. LWVCO also objects to this Interrogatory

 because it seeks information with the possession and/or control of USEIP. Finally, LWVCO

 objects to this Interrogatory because it seeks information protected by the attorney-client privilege

 and/or work product doctrine. Subject to and without waiving the foregoing objections, LWVCO

 has received complaints regarding USEIP’s and/or Defendants’ activities from numerous

 members. For example, one LWVCO member reported that USEIP had canvassed her home and,

 in doing so, represented themselves as being a representative of a government entity. A number

 of LWVCO members and board members also complained and otherwise expressed concerns

 about USEIP’s or Defendants’ public statements, such as the threats made by Shawn Smith against

 the Colorado Secretary of State.



 INTERROGATORY NO. 4: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a complaint related to any of the actions of
 any of the defendants in this case or their alleged employees, agents, or volunteers.

         ANSWER: LWVCO objects to this Interrogatory as overly broad and unduly burdensome

 in seeking information related to “every” person or entity.         LWVCO also objects to this

 Interrogatory because the term “complaint” is vague, ambiguous, and undefined. Subject to and

 without waiving the foregoing objections, see Answer to Interrogatory No. 3.

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  INTERROGATORY NO. 5: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a report of positive interactions related to
 any of the actions of any of the defendants in this case or their alleged agents.

         ANSWER: LWVCO objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and/or work product doctrine. Subject to and without

 waiving the foregoing objection, LWVCO spoke with one voter who had been contacted by USEIP

 who reported that they were generally supportive of USEIP’s efforts.




 INTERROGATORY NO. 6: Identify and provide a detailed description of any and all instances
 where a voter has claimed that any alleged member of USEIP has done any of the following:
        a) Approached them or their home while armed;
        b) Represented that they are affiliated with a government entity (specify which
           government entity was claimed); or
        c) Threatened a voter with reprisal, criminal charges, or other consequences.

         ANSWER:       LWVCO objects to this Interrogatory as overly broad and unduly

 burdensome in seeking a description of “any and all” instances. LWVCO also objects to this

 Interrogatory because the phrase “where a voter has claimed” is vague and ambiguous. Subject to

 and without waiving the foregoing objections, see Answer to Interrogatory No. 3.




 INTERROGATORY NO. 7: Identify and provide a detailed description of any and all instances
 where USEIP or its agents have directed any person to carry a weapon during an interaction with
 a voter.

         ANSWER:       LWVCO objects to this Interrogatory as overly broad and unduly

 burdensome in seeking a description of “any and all” instances. LWVCO also objects to this



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 Interrogatory because it seeks information that is already within Defendants’ possession and/or

 control.


 INTERROGATORY NO. 8: Identify and describe in detail the activities You have undertaken to
 actively monitor the “intimidation and related safety concerns” described in Paragraph 36 of the
 Complaint in this action. Specifically address personnel and financial resources that have been
 shifted as a result of the activities of USEIP.

         ANSWER:        LWVCO’s mission is to empower voters and defend democracy. On a day-

 to-day basis LWVCO monitors voter services and voter participation with the aim of ensuring that

 all voters have the desire, the right, the knowledge, and the confidence to participate in elections.

 Once LWVCO began receiving reports of Defendants’ door-to-door voter intimidation campaign,

 LWVCO needed to make sure that their members were safe and able to freely participate in

 Colorado’s elections. As such, LWVCO published a white paper to counteract misinformation

 that had been put out about election security in Colorado, which was hundreds of hours of work.

 In addition, LWVCO sent numerous emails, educating its members of voting in Colorado, with

 the specific aim of countering USEIP’s fear mongering and misinformation related to elections.

 The time and resources spent creating the white paper and sending such communications was time

 away from LWVCO core mission and planned activities. Further, the LWVCO Board was forced

 to spend additional time and resources reacting to USEIP’s action, including but not limited to

 emergency board meetings and additional board meetings to discuss USEIP’s actions and how best

 to respond. Finally, LWVCO staff and volunteers have conducted additional trainings, including

 trainings on voter intimidation, and created a new safety plan, in response to USEIP’s actions.



 INTERROGATORY T NO. 9: Specifically identify the communities or neighborhoods that have
 been targeted by USEIP’s “operation” as claimed in Paragraph 27 of your Complaint.

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          ANSWER:      LWVCO objects to this Interrogatory because it seeks information that is

 already in Defendants’ possession and/or control. Subject to and without waiving the foregoing

 objection, see documents produced by Jeff Young and the deposition testimony provided by Jeff

 Young.


                     REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST NO. 1: Any and all correspondence, internal or external, related to the activities of
 USEIP and their alleged employees, agents, or volunteers.

          RESPONSE: LWVCO objects to this Request as overly broad and unduly burdensome in

 seeking “any and all “ correspondence. LWVCO also objects to this Request to the extent it seeks

 communications protected by the attorney-client privilege. Subject to and without waiving the

 foregoing objection, LWVCO will produce responsive documents, subject to a protective order, at

 a time and place mutually agreeable to counsel.



 REQUEST NO. 2: Any and all emails, text messages, phone call logs, or other Documentation
 pertaining to communication between You and any and all persons or entities regarding the subject
 matter of this lawsuit.

          RESPONSE: LWVCO objects to this Request as overly broad and unduly burdensome in

 seeking “any and all” emails, text messages, phone call logs, or other Documentation pertaining

 to communication with “any and all” persons or entities. LWVCO also objects to this Request to

 the extent it seeks communications protected by the attorney-client privilege. Subject to and

 without waiving the foregoing objection, LWVCO will produce responsive documents, subject to

 a protective order, at a time and place mutually agreeable to counsel.



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                                 CERTIFICATE OF SERVICE


         I hereby certify that on October 21, 2022, I electronically served the foregoing by emailing
 to the below mentioned persons at their last known email addresses as follows:

  Jessica Lynn Hays                   jessica@reischlawfirm.com
  R. Scott Reisch                     scott@reischlawfirm.com; cassandra@reischlawfirm.com;
                                      Matthew@reischlawfirm.com, Rob@reischlawfirm.com


                                               s/Amy Erickson




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